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                                                                ELECTRONICALLY FILED
                                                                DOC #:
                         UNITED STATES DISTRICT COURT           DATE FILED: 11/06/2020
                        SOUTHERN DISTRICT OF NEW YORK

PAPPAS HARRIS CAPITAL, LLC                     )               Civ. NO. 1:20-cv-6911
          Plaintiff                            )
                                               )
vs.                                            )
                                               )               RULE 41 MOTION/NOTICE TO
BREGAL PARTNERS, L.P. d/b/a                    )               DISMISS OF SCOTT PEREKLIS
BREGAL PARTNERS and BREGAL                     )
INVESTMENTS, INC., PAUL MCGILL                 )
AND SCOTT PEREKLIS                             )

To the Honorable Judge of said Court:

       COMES NOW, Papas Harris Capital, LLC, Plaintiff, herein pursuant to Rule F.R.C.P. 41

 (a) (1) (A) (i) and files this their Voluntary Dismissal with prejudice of Scott Pereklis. This notice

 is filed prior to any answer or motion on the part of Defendants.

                 Dated this 5th day of November 2020.


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                                   ATTORNEYS FOR PLAINTIFF


Plaintiff's claims against Mr. Pereklis are hereby dismissed with prejudice.

The Clerk of Court is respectfully directed to terminate Mr. Pereklis as a Defendant and close the open
motion at docket entry 40.

SO ORDERED.



                                Date: November 6, 2020
HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE




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